
720 S.E.2d 390 (2012)
Walter Sutton BAYSDEN
v.
The STATE of North Carolina.
No. 522A11.
Supreme Court of North Carolina.
January 26, 2012.
John Aldridge, III, Special Deputy Attorney General, for State of North Carolina.
Dan L. Hardway, for Baysden, Walter Sutton.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 7th of December 2011 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex Mero Motu by order of the Court in conference, this the 26th of January 2012."
Upon consideration of the petition filed on the 7th of December 2011 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 26th of January 2012."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
